        United States District Court
                        EASTERN DISTRICT OF WISCONSIN

DOES 1, 7, 8, and 9, Individually;
DOES 2, 4, 5, and 6, Individually,
and as taxpayers;
DOES 3, a minor,
 by DOES 3's next best friend, DOE 2,

                    Plaintiffs,

               v.                                      Case No. 09-C-0409

ELMBROOK JOINT COMMON SCHOOL
DISTRICT NO. 21,

                    Defendant.


                             COURT MINUTES
                HONORABLE CHARLES N. CLEVERT, JR., PRESIDING


Date:                       May 29, 2009

Proceeding:                 Preliminary Injunction Hearing

FTR Start Time:             1:45:25 p.m.

FTR End Time:               4:21:56 p.m.

Law Clerk:                  Benjamin Proctor

Appearances:                Plaintiffs: Attorneys Alexander Luchenitser, James Hall, and
                            Thomas Olson
                            Defendant: Attorneys Lori Lubinsky and Sara Beachy

Disposition:                Plaintiffs’ Motion for Leave to Proceed Using Pseudonyms
                            (Doc. # 19) is granted.

                            Plaintiffs’ Motion for Leave to File Excess Pages (Doc. # 28)
                            is granted.




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                        Court takes Plaintiffs’ Motion for Preliminary Injunction under
                        advisement and will issue ruling prior to graduation activities
                        set for Thursday, June 4, 2009.

Notes:                  Court hears oral argument by the parties regarding Plaintiffs’
                        Motion for Preliminary Injunction.




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